         Case 2:11-cr-00057-LDG-DJA         Document 216       Filed 04/08/14       Page 1 of 3



 1   DANIEL G. BOGDEN
     United States Attorney
 2   MICHAEL A. HUMPHREYS
     Assistant United States Attorney
 3   333 Las Vegas Boulevard South, Suite 5000
     Las Vegas, Nevada 89101
 4   Telephone: 702-388-6518
     Facsimile: 702-388-6787
 5   Michael.Humphreys@usdoj.gov
     Attorneys for the United States.
 6
 7
 8                             UNITED STATES DISTRICT COURT
 9                                    DISTRICT OF NEVADA
10   UNITED STATES OF AMERICA,           )
                                         )
11                     Plaintiff,        )             Case No. 2:11-CR-057-LDG-(CWH)
                                         )
12               v.                      )
                                         )
13   FRANCISCO MUNOZ, aka RED,           )
                                         )
14                     Defendant.        )
     ____________________________________)
15
16                 United States’ Motion To Amend Judgment
17   Background and Facts
18          COMES NOW the United States of America, by and through the United States
19   Attorney for the District of Nevada, and moves this Court, pursuant to Rule 36, Fed. R.
20   Crim. P., to amend the order of Judgment and Commitment that this court entered in the
21   above-captioned case on July 13, 2012.
22          In this case, the defendant was indicted for conspiracy to distribute
23   methamphetamine, heroin, cocaine and marijuana, all in violation of 21 U.S.C. §§
24   841(a)(1) and 846. On March 12, 2012, the defendant pled guilty to both counts of a
25   Criminal Information, charging him with conspiracy to distribute marijuana, and
26   possession of a firearm by a prohibited person. At the defendant’s sentencing hearing on
27   June 29, 2012, this Court signed a final order of forfeiture forfeiting several motor
28   vehicles, several firearms, and $38,980.00 in United States Currency to the United States
         Case 2:11-cr-00057-LDG-DJA           Document 216        Filed 04/08/14     Page 2 of 3



 1   of America. This Court also signed a standard “Judgment In A Criminal Case” form that
 2   imposed various other penal sanctions on the defendant, including a 78-month term of
 3   incarceration.
 4          Typically, during the course of a sentencing hearing, Government counsel will
 5   request, or the Court will declare, sua sponte, that the forfeiture order will be appended
 6   to, and made a part of, the signed Judgment and Commitment. This practice is consistent
 7   with the mandate of Rule 32.2 (b)(4)(B), Fed. R. Crim. P., which states that the Court
 8   “must also include the forfeiture order, directly or by reference, in the judgment, but that
 9   the Court’s failure to do so may be corrected at any time under Rule 36.” While it was
10   (and is) the intent of the Government that this Court make the order of forfeiture a part of
11   the Judgment and Commitment, apparently no such statement of incorporation was made
12   at the sentencing by the Court or counsel.
13          The straightforward provisions of Rule 36, Fed. R. Crim. P., provide that: “After
14   giving any notice it considers appropriate, the court may at any time correct a clerical
15   error in a judgment, order or other part of the record, or correct an error in the record
16   arising from oversight or omission.” (emphasis added).1
17          That it was this Court’s intent to impose a forfeiture sanction against the defendant
18   is apparent from its execution of the Preliminary and Final Orders of Forfeiture.
19   However, to give that independent order the force and effect of a judgment, it should, as
20   Rule 32.2 requires, be incorporated by reference, as well as by physical attachment, to the
21   Judgment and Commitment form.
22                    In addition, at the bottom of the “Schedule of Payments” page of the
23   Judgement and Commitment, we request that this Court check the box that denotes the
24   following language: “The defendant shall forfeit the defendant’s interest in the following
25
26          1
             Consistent with standard practice, the United States will serve defendant’s counsel with a
27   copy of this motion to satisfy the notice requirement embodied in Rule 36.

28                                                   2
         Case 2:11-cr-00057-LDG-DJA          Document 216       Filed 04/08/14     Page 3 of 3



 1   property to the United States:” Underneath that checked box we request that the
 2   following language be included:
 3                 “See attached Final Order of Forfeiture”
 4          Because Rule 36 gives this Court expansive authority to correct a clerical error or
 5   oversight; because it was the intent of this Court and the Government that the property
 6   described in the information, the plea agreement, the preliminary order of forfeiture and
 7   the final order of forfeiture be forfeited to the United States; and because it will serve the
 8   ends of justice to make a correction to the Judgment and Commitment, as described
 9   above, that complies with the requirements of Rule 36, the United States requests that the
10   Judgment and Commitment be modified accordingly and that a copy of the Final Order of
11   Forfeiture be appended thereto.
12          WHEREFORE, the United States request, that its motion, in its entirety, be
13   granted.
14
15                                              Respectfully submitted,
16                                              DANIEL G. BOGDEN
                                                United States Attorney
17
                                                /s/Michael A. Humphreys
18                                             MICHAEL A. HUMPHREYS
                                               Assistant United States Attorney
19
20
21
22                                             IT IS SO ORDERED:
23
                                               ________________________________
24                                             UNITED STATES DISTRICT JUDGE
25                                                            April 2014
                                               DATED:________________________
26
27
28                                                 3
